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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION

FELIX MORENO-GARCIA,                         MOTION TO VACATE
BOP ID 25855-379,                            28 U.S.C. § 2255
     Movant,
                                             CRIMINAL ACTION FILE
   v.                                        NO. 4:14-CR-28-1-HLM-WEJ

                                             CIVIL ACTION FILE
UNITED STATES OF AMERICA,                    NO. 4:15-CV-175-HLM-WEJ
    Respondent.

                 FINAL REPORT AND RECOMMENDATION

        Proceeding pro se in August 2015, Felix Moreno-Garcia filed a Motion

Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody. See Motion to Vacate [42]. Mr. Moreno-Garcia alleged therein

that Vionette Johnson, the Federal Public Defender assigned to represent him in a

criminal case, had provided ineffective assistance because he specifically requested

that she file a notice of appeal on his behalf, “but [she] failed to do [so].” Id. at 4.

The government conceded that a limited evidentiary hearing was required on this

claim. See Response [48] at 1.

        The undersigned appointed post-conviction counsel to represent Mr.

Moreno-Garcia, see [51], and held an evidentiary hearing in February 2016, at
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which Mr. Moreno-Garcia and Ms. Johnson testified, see Feb. 19, 2016 Hearing

Transcript [54]. Post-conviction counsel for Mr. Moreno-Garcia requested two

extensions of time to file a post-hearing brief, which the undersigned granted. See

Oral Order of Apr. 11, 2016, and Oral Order of Apr. 21, 2016. Mr. Moreno-

Garcia’s post-conviction counsel filed a brief, see [57], to which the government

responded, see [59].     Mr. Moreno-Garcia also filed pro se a Motion/Request

Asking for the Outcome/Judg[]ment of Evidentiary Hearing Petition, see

Motion/Request [56], and a Traverse/Motion, see [60], replying to the

government’s post-hearing brief.

      This matter is now before the Court for decision.

      It is black-letter law that “a lawyer who disregards specific instructions from

the defendant to file a notice of appeal acts in a manner that is professionally

unreasonable.” Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000). Mr. Moreno-

Garcia testified that he gave such specific instructions, or that, even if he did not, it

was understood that he wished to file a notice of appeal. See Feb. 19, 2016

Hearing Transcript at 9 & 21-23. Ms. Johnson testified that Mr. Moreno-Garcia

gave no such specific instructions, but rather that she and he discussed the

resolution of the case and he decided not to appeal. See id. at 38-39, 42 & 46. Ms.


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Johnson also testified that if Mr. Moreno-Garcia had requested that she file an

appeal, she would have done so as a matter of course. See id. at 27, 39 & 42.

Consequently, this case turns on a determination of which of these two

diametrically-opposed versions of events is more credible.

      Having observed the witnesses and reviewed the record of prior proceedings,

the undersigned finds and concludes that Mr. Moreno-Garcia did not instruct Ms.

Johnson, explicitly or otherwise, to file an appeal, but rather that they consulted

with one another and Mr. Moreno-Garcia knowingly and voluntarily elected not to

pursue an appeal. The undersigned notes in particular that (1) Ms. Johnson was the

more credible witness, (2) Mr. Moreno-Garcia’s testimony was vague, evasive, and

in conflict with his sworn testimony during the change-of-plea and sentencing

hearings, and (3) Ms. Johnson wrote a letter to Mr. Moreno-Garcia shortly after he

was sentenced confirming his decision not to file an appeal.        See id. at 41

(discussion of letter).

      Accordingly, the undersigned RECOMMENDS that Mr. Moreno-Garcia’s

Motion to Vacate [42] be DENIED.

      Because Mr. Moreno-Garcia has not identified any reasonably debatable

ground for relief, he does not meet the requisite standard for issuance of a


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Certificate of Appealability. See Slack v. McDaniel, 529 U.S. 473, 484 (2000)

(requiring a two-part showing (1) “that jurists of reason would find it debatable

whether the petition states a valid claim of the denial of a constitutional right,” and

(2) “that jurists of reason would find it debatable whether the district court was

correct in its procedural ruling”); see also Spencer v. United States, 773 F.3d 1132,

1138 (11th Cir. 2014) (en banc) (holding that the Slack v. McDaniel standard will

be strictly applied prospectively).

      Accordingly, the undersigned RECOMMENDS that a Certificate of

Appealability be DENIED.

      Mr. Moreno-Garcia’s Motion/Request [56] is DENIED as moot.

      The Clerk is DIRECTED to terminate the referral to the undersigned.

      SO RECOMMENDED, this 29th day of August, 2016.




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                                 WALTER E. JOHNSON
                                 UNITED STATES MAGISTRATE JUDGE




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